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   IN THE DISTRICT COURT OF THE UNITED STATES

                    for the Western District of New York
                                    ____________________

                                                        MAY 2018 GRAND JURY
                                                        (Impaneled 05/04/2018)

 THE UNITED STATES OF AMERICA                           INDICTMENT

        -vs-                                            Violations:

                                                        Title 21, United States Code,
 JOSEPH BONGIOVANNI                                     Section 846;
                                                        Title 18, United States Code, Sections
                                                        371, 201(b)(2)(A), 201(b)(2)(C),
                                                        1001(a)(2), and 1519
                                                        (11 Counts and Forfeiture Allegation)


                                     INTRODUCTION

                               The Grand Jury Charges That:

As relevant to this Indictment:

       1.      The defendant, JOSEPH BONGIOVANNI (“BONGIOVANNI”), began his

career in law enforcement as an Erie County Sheriff Deputy in or about 1995. In or about

1998, the defendant BONGIOVANNI joined the Drug Enforcement Administration

(“DEA”) as a Special Agent (“SA”) and his career with the DEA took him out of the Buffalo

area for a period of time. In or about 2001, until his retirement on or about February 1, 2019,

the defendant BONGIOVANNI was assigned to Buffalo, New York, DEA Resident Office.



       2.      As a DEA SA, the defendant BONGIOVANNI was a “public official” as

defined in Title 18, United States Code, Section 201(a)(1).
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       3.     The defendant BONGIOVANNI had friends and associates who he knew were

involved in possession, use, distribution, and importation of controlled substances including

marijuana, a Schedule I controlled substance, and cocaine, a Schedule II controlled substance.

The defendant BONGIOVANNI’s friends and associates who were involved in possession,

use, and distribution, and importation of controlled substances, included, among others,

individuals he believed to be members of, connected to, or associated with Italian Organized

Crime (IOC) in the Western District of New York and elsewhere.



       4.     The DEA was an agency within the executive branch of the Government of the

United States, and the DEA is charged with, among other things, investigating narcotics

trafficking activity and enforcing the controlled substance laws of the United States. The DEA

required its SAs to uphold the rule of law, and to act with integrity in their personal and

professional actions.



       5.     As a DEA SA, the defendant BONGIOVANNI was specially trained in the

investigation of drug trafficking activity and was familiar with DEA policy, record keeping,

procedures, and databases.



       6.     The lawful functions of DEA SAs included, but were not limited to, initiating

and conducting investigations; interviewing witnesses and DEA confidential sources;

protecting the identity of witnesses and DEA confidential sources; protecting the integrity,

confidentiality, and operational security of federal and state investigations; collecting and

preserving evidence; preparing truthful and accurate DEA memoranda and reports; preparing

search warrant and criminal complaint affidavits, documenting information that was helpful

to current and future DEA investigations; arresting individuals who had violated federal and

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state drug laws; preparing and proposing DEA cases for prosecution; and acting with honesty

and integrity in their representations and communications with prosecutors and other

members of law enforcement.



       7.      The defendant BONGIOVANNI, through training and experience, was

familiar with how the DEA and other law enforcement agencies conducted drug trafficking

investigations, and how DEA agents and other law enforcement officers utilized de-

confliction databases as a means to coordinate investigations with other agents and law

enforcement agencies.



       8.      De-confliction databases enabled law enforcement officers conducting an

investigation of a specific individual or specific individuals to be alerted if another law

enforcement officer or agency had an investigative interest in the same individual or

individuals.


                                           COUNT 1

                         (Conspiracy to Defraud the United States)

                           The Grand Jury Further Charges That:

       1.      The allegations of the Introduction are repeated and re-alleged and

incorporated by reference as if set forth fully herein.



       2.      Beginning in or about 2008 and continuing until in or about June, 2019, in the

Western District of New York, and elsewhere, the defendant, JOSEPH BONGIOVANNI,

did knowingly, willfully, and unlawfully combine, conspire, and agree with others, known

and unknown:


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       a.      to defraud the United States and the Drug Enforcement Administration (DEA),

an agency of the United States, by interfering with and obstructing by means of deceit, craft,

and trickery, the lawful and legitimate governmental functions and rights of the DEA, that is:


             i.       the right to have its business and its affairs, and the transaction
                      of the official business of the DEA conducted honestly and
                      impartially, free from corruption, fraud, improper and undue
                      influence, dishonesty, unlawful impairment and obstruction; and

             ii.      the right to the conscientious, loyal, faithful, disinterested and
                      unbiased services, decisions, actions and performance of his
                      duties by the defendant, JOSEPH BONGIOVANNI, in his
                      official capacity as a DEA SA free from corruption, partiality,
                      improper influence, bias, dishonesty and fraud in dealing with
                      the DEA and other law enforcement agencies;


       b.      directly and indirectly, corruptly to give, offer, and promise a thing of value to

a public official, with intent to influence official acts and induce a public official to do an act

and omit to do an act in violation of his official duty, in violation of Title 18, United States

Code, Sections 201(b)(1)(A) and 201(b)(1)(C); and



       c.      directly and indirectly, corruptly to demand, seek, receive, accept, and agree to

receive and accept, a thing of value personally, in return for being influenced in the

performance of an official act, and being induced to do an act and omit to do an act in

violation of official duty in violation of Title 18, United States Code, Sections 201(b)(2)(A)

and 201(b)(2)(C).



                                    MANNER AND MEANS

       3.      The conspiracy was carried out by the Manner and Means set forth below.




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       4.     It was part of the conspiracy that, in order to build trust and maintain continuity

with his coconspirators, the defendant BONGIOVANNI did not investigate his friends and

associates and used his position as a DEA SA in Buffalo, New York, to shield his friends and

associates, including those he believed were connected to or associated with IOC, from

criminal investigations.



       5.     It was part of the conspiracy that, in exchange for payments he received and in

order to ingratiate himself to individuals whom he believed were members and associates of

IOC, the defendant BONGIOVANNI utilized his position as a DEA SA to attempt to

dissuade other members of law enforcement: from conducting investigations of his

coconspirators, friends, associates and individuals the defendant believed to be connected to

or associated with IOC; and from conducting investigations into any individuals who may

have been able to expose his criminal activities and those of his friends, associates, and

individuals the defendant believed to be connected to or associated with IOC.



       6.     It was part of the conspiracy that, in exchange for payments he received, and

to ingratiate himself to individuals he believed to be connected to or associated with IOC, the

defendant BONGIOVANNI used his position as a DEA SA to gain and provide information

about federal investigations, and about individuals cooperating or suspected to be cooperating

with law enforcement, to enable his coconspirators, friends, and associates to continue their

drug trafficking activities without disruption by law enforcement.



       7.     It was part of the conspiracy that, between in or about 2008 and in or about

2017, in exchange for bribes totaling approximately at least $250,000 in United States



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currency, the defendant BONGIOVANNI used his position as a DEA SA to protect the

coconspirator drug traffickers who were paying him bribes and their associates.



       8.      It was part of the conspiracy that the defendant BONGIOVANNI was paid

bribes on a recurring basis in exchange for regular debriefings whereby the defendant

BONGIOVANNI provided information designed to protect and conceal the drug trafficking

activities of his friends, associates, and coconspirators.



       9.      It was part of the conspiracy that, utilizing state and DEA de-confliction

databases, the defendant BONGIOVANNI would be alerted when other agents were looking

at the drug trafficking activity of individuals associated with the defendant BONGIOVANNI

or under his protection.



       10.     It was part of the conspiracy that, in exchange for bribes he received and in

order to create the appearance of a legitimate DEA investigation and to maximize his ability

to utilize de-confliction databases to monitor the activities of other law enforcement agents

and agencies, and to ensure no other law enforcement agents or agencies successfully

investigated the drug traffickers under the defendant BONGIOVANNI’s paid protection, the

defendant BONGIOVANNI initiated a DEA case file in the names of coconspirator drug

traffickers who were paying the defendant BONGIOVANNI protection bribes.



       11.     It was part of the conspiracy that the defendant BONGIOVANNI utilized his

access to DEA databases and information, meetings with other law enforcement officers and

Assistant United States Attorneys, and knowledge of law enforcement techniques, methods,



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and procedures, to advise and assist drug traffickers in avoiding law enforcement scrutiny and

detection.



       12.    It was part of the conspiracy that, in exchange for bribes he received, defendant

BONGIOVANNI provided information to his coconspirators about the existence of

investigations, the status of investigations, the identity of cooperators, and specific

information, including specific techniques utilized or under consideration in investigations

that he learned through his position as a DEA SA and his interactions with other members of

law enforcement.



       13.    It was part of the conspiracy that, in exchange for bribes he received and to

protect the continuing drug trafficking operations of his coconspirators, after opening a DEA

file, the defendant BONGIOVANNI feigned legitimate investigation so that information

about his coconspirators, and anyone seeking to cooperate against them, would be funneled

towards him, and so inducing other members of law enforcement to defer investigation of his

coconspirators to him.



       14.    It was part of the conspiracy that, after feigning legitimate investigation for a

period of time so that information about his coconspirators, and anyone seeking to cooperate

against them, would be funneled towards him, the defendant BONGIOVANNI closed the

DEA file related to drug traffickers under defendant BONGIOVANNI’s paid protection

knowing that, even with the file closed, he would continue to receive de-confliction notices

related to individuals under his protection.




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       15.    It was part of the conspiracy that, even after the defendant BONGIOVANNI

closed the DEA file related to drug traffickers under the defendant BONGIOVANNI’s paid

protection, he continued to represent to others in law enforcement that he had an active

investigation in an effort to dissuade other members of law enforcement from commencing

and developing an investigation of his friends, associates, and coconspirators.



       16.    It was part of the conspiracy that the defendant BONGIOVANNI made false

entries and representations in DEA documents, and false statements and representations to

other members of law enforcement, in order to protect his friends, associates, and

coconspirators from investigation, arrest, prosecution, and potential incarceration.



       17.    It was part of the conspiracy that the defendant BONGIOVANNI would

falsely deny to other agents of the DEA the existence of any connections between himself and

individuals he knew to be involved in the possession, use, distribution, and importation of

controlled substances, and individuals he believed were connected to or associated with IOC.



       18.    It was part of the conspiracy that the defendant BONGIOVANNI provided

cover stories to his coconspirators and would instruct such individuals that, if the

communications or meetings between the defendant and the coconspirators were ever

questioned by law enforcement, the conspirators should conceal the true nature of their

relationship with the defendant BONGIOVANNI by pretending the defendant

BONGIOVANNI was recruiting such individuals to be DEA informants.




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       19.     It was part of the conspiracy that, upon request, the defendant

BONGIOVANNI made efforts to use his position as a DEA SA to help coconspirators get

out of trouble with other law enforcement agencies.



       20.     It was part of the conspiracy that the defendant BONGIOVANNI would

conceal his possession, use, and distribution of controlled substances, the bribes he received,

and the assistance he provided to his friends, associates, coconspirators, and individuals who

he believed were members of, connected to, or associated with IOC.



                                       OVERT ACTS

       21.     In furtherance of the conspiracy and to effect the objects thereof, the following

overt acts were committed in the Western District of New York, and elsewhere, by the

defendant and others.



       22.     Between in or about 2008 and in or about 2017, the defendant

BONGIOVANNI was paid and accepted bribes on a recurring basis totaling approximately

at least $250,000 in United States currency in exchange for protection from arrest and

prosecution.



       23.     Between in or about 2008 and in or about 2017, the defendant

BONGIOVANNI provided information about investigations, including the status of specific

investigative techniques, potential witnesses, and confidential sources during routine

recurring meetings with drug traffickers who were paying him bribes.




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       24.    Between on or about November 1, 2009, and on or about November 3, 2009,

in response to information he received from Coconspirator 1, a person known to the Grand

Jury, the defendant BONGIOVANNI contacted the United States Probation Office in an

effort to intercede on Coconspirator 1’s behalf and to help Coconspirator 1 mitigate any

sanctions that might be imposed by the Probation Office for Coconspirator 1 violating the

terms and conditions of his term of federal supervised release.



       25.    On or about November 6, 2009, the defendant BONGIOVANNI authored an

official DEA 6 report in which the defendant BONGIOVANNI made false, fraudulent,

fictitious, and misleading statements, namely, that that Coconspirator 1 had acted as a

confidential source and had provided information to the DEA in narcotics investigations.



       26.    On or about November 6, 2009, in the DEA 6 report referenced above, the

defendant BONGIOVANNI omitted documenting any telephone number for Coconspirator

1.



       27.    In or about November 2009, the defendant BONGIOVANNI engaged in

conduct and made statements portraying Coconspirator 1 as a DEA confidential source,

when in fact Coconspirator 1 was not a DEA confidential source, in order to dissuade a

member of another federal law enforcement agency from investigating and potentially

charging Coconspirator 1 with federal criminal offenses.



       28.    Between on or about November 6, 2009, and on or about October 31, 2018, the

defendant BONGIOVANNI did not document in any DEA reports or memoranda any

information about Coconspirator 1, and did not document the substance of any in-person or
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telephonic contacts he had with Coconspirator 1, a convicted felon and individual whom the

defendant BONGIOVANNI knew and had reason to know was involved in possession, use,

and distribution of controlled substances, and believed to be a member of, connected to, or

associated with IOC.



       29.    In or about January 2013, the defendant BONGIOVANNI submitted names,

including the names of drug traffickers and associates who were paying him bribes, and the

defendant’s contact information, to “Safety-Net,” a state de-confliction system.



       30.    On or about November 28, 2012, the defendant BONGIOVANNI opened

DEA Case Number C2-13-0026.



       31.    On or about December 24, 2012, the defendant BONGIOVANNI added target

names to the file in DEA Case Number C2-13-0026, including the names of drug traffickers

and associates who were paying him bribes.



       32.    In or about April 2013, the defendant BONGIOVANNI became aware of a

individual, known to the Grand Jury, who could cooperate against the drug traffickers paying

the defendant BONGIOVANNI bribes, and the defendant BONGIOVANNI signed up the

individual as a DEA confidential source (“CS”) with himself as the handling agent.



       33.    On or about May 2, 2013, in DEA Case Number C2-13-0026, the defendant

BONGIOVANNI indexed names related to individuals who were paying the defendant

BONGIOVANNI bribes to give the appearance of legitimate investigation and so that DEA

de-confliction database procedures would alert him if other members of law enforcement were
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investigating the individuals and associates of individuals who were paying the defendant

BONGIOVANNI bribes.



       34.    Between on or about April 30, 2013, and on or about September 9, 2013, the

defendant BONGIOVANNI ensured that the CS provided no cooperation against the drug

traffickers who were paying him bribes.



       35.    On or about May 23, 2013, defendant BONGIOVANNI sent an email

regarding DEA Case Number C2-13-0026 to members of the United States Attorney’s Office,

Western District of New York, and a Special Agent with the Internal Revenue Service (IRS)

stating that “we are making strides in the street and will report back soon.”



       36.    On or about July 16, 2013, the defendant BONGIOVANNI sent an email to

members of the United States Attorney’s Office, Western District of New York, and a Special

Agent with the IRS, and copied his supervisor in the DEA Buffalo Resident Office, that read

in part “we are working on GPS warrant for trackers to locate these grow operation [sic] a CI

[confidential informant] reported they are turning the grow over in 8 to 9 weeks. Joe.”



       37.    On or about September 11, 2013, the defendant BONGIOVANNI prepared a

DEA 6 report in DEA Case Number C2-13-0026 wherein he made false, fraudulent, fictitious,

and misleading statements as follows: “Agents are presently waiting for approval from the

United States Attorney’s Office (WDNY) to utilized [sic] GPS trackers to aid in the

investigation.”




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       38.    On September 9, 2013, the defendant BONGIOVANNI de-activated the CS

who had an ability to cooperate in DEA Case Number C2-13-0026.



       39.    Between on or about April 30, 2013, and on or about November 4, 2014, the

defendant BONGIOVANNI made false representations regarding DEA Case Number C2-

13-0026 to others in law enforcement that he did not have a source who could provide

information about the locations of marijuana grow operations being controlled and operated

by those who were paying the defendant BONGIOVANNI bribes.



       40.    On or about September 26, 2013, the defendant BONGIOVANNI met with

other members of law enforcement and an Assistant United States Attorney at the United

States Attorney’s Office for the Western District of New York regarding in DEA Case

Number C2-13-0026 during which meeting, specific investigative techniques were discussed.



       41.    Between in or about 2008 and in or about 2017, during routine and recurring

meetings with individuals paying the defendant BONGIOVANNI bribes, the defendant

BONGIOVANNI passed along information regarding specific techniques utilized or being

considered by other members of law enforcement in DEA Case Number C2-13-0026.



       42.    During conversation with other members of law enforcement involved in the

investigation of DEA Case Number C2-13-0026, the defendant BONGIOVANNI falsely

stated that he did not have a confidential informant and, as a result, marijuana grow locations

could not be located to further the investigation in DEA Case Number C2-13-0026.




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       43.     On or about November 4, 2014, in preparation for closing DEA Case Number

C2-13-0026, the defendant BONGIOVANNI prepared a DEA 6 report wherein he made

false, fraudulent, fictitious, and misleading statements as follows: “The confidential informant

associated with this case/file is no longer viable and can not provide credible information in

furtherance of this investigation. This agent will not [sic] prepare this case for closure.”



       44.     On or about January 28, 2015, the defendant BONGIOVANNI prepared a

DEA 6 report in DEA Case Number C2-13-0026 officially closing the DEA file related to

investigation of individuals and associates of individuals who were paying him bribes.



       45.     On or about February 21, 2016, the defendant BONGIOVANNI attended a

party in Toronto, Canada with friends and associates involved in possession, use, and

distribution of cocaine.



       46.     In or about June 2016, in response to another DEA SA in the Buffalo Resident

Office subpoena of phone records showing contacts between Coconspirator 1 and the

defendant BONGIOVANNI, the defendant BONGIOVANNI attempted to dissuade the

other SA from further investigating by asking his colleague if he “hated Italians.”



       47.     In or about August 2016, the defendant BONGIOVANNI used his position as

a DEA SA in an attempt to dissuade a member of different federal law enforcement agency

from investigating some of the defendant BONGIOVANNI’s friends and associates.



       48.     On a date unknown to the Grand Jury, in response to a telephone call from

Coconspirator 1 after a stripper overdosed on drugs at a gentlemen’s club operated by
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Coconspirator 1 in Cheektowaga, New York, the defendant BONGIOVANNI advised

Coconspirator 1 to “get her out” of the gentlemen’s club.



       49.    On or about May 4, 2017, Coconspirator 1 left a voicemail message on the

defendant BONGIOVANNI’s DEA issued cell phone, as follows:

              “Hey Joe, it’s [Coconspirator 1]. Listen, if a guy is dealing drugs he’s
              got a regular phone…it’s a phone that’s, one of those Tracfones. Is
              there a way to ping it like police do? Where they can tell where you’re
              at? I just want to know if you could do that or not. Give me a call back
              725-1931.”

to which the defendant BONGIOVANNI responded via text message, “Yes but you would

need a warrant to get a ping order.”



       50.    At various times while the defendant BONGIOVANNI was a DEA SA

assigned to the Buffalo Resident Office, he possessed, used and distributed, and observed

others possess, use, and distribute, cocaine.



       51.    On or about November 1, 2018, the defendant BONGIOVANNI authored and

submitted an internal DEA memorandum in which he made false and misleading statements

as follows: “It should be known that any contact I have had with [Coconspirator 1] in the past

was minimal in-person contact and primarily consisted of random telephonic communication

based on the fact we were childhood friends. I would sometimes randomly encounter

[Coconspirator 1] at a restaurant or golf outing and have not made plans to meet him socially

in several years.”



       52.    On or about December 10, 2018, the defendant BONGIOVANNI authored

and submitted an internal DEA memorandum wherein he made false and misleading
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statements as follows: “I have and will report all contact with [Coconspirator 1] to a DEA

supervisor like I have in the past[.]”



       53.     On or about January 28, 2019, the defendant BONGIOVANNI authored and

submitted an internal DEA memorandum wherein he made false and misleading statements

regarding the nature of Coconspirator 1’s relationship with another DEA SA in the Buffalo

Resident Office.



       54.     On or about February 1, 2019, the defendant BONGIOVANNI’s last day as a

DEA SA in the Buffalo Resident Office due to his retirement from the DEA, the defendant

caused his DEA issued cellular telephone to be wiped clean such that all data was deleted

from the telephone.



       55.     On a date unknown to the Grand Jury, but before on or about February 1, 2019,

without authorization or permission, the defendant BONGIOVANNI removed the DEA

working file in DEA Case Number C2-13-0026, which contained DEA database information

(including de-confliction database information), administrative subpoenas and responses,

cellular telephone toll analysis, and other DEA records and property, from the DEA Buffalo

Resident Office and stored and concealed this DEA property in the basement of his residence.



       56.     On or about March 29, 2019, in an interview conducted by Department of

Justice (DOJ) Office of Inspector General (OIG) Special Agents, the defendant

BONGIOVANNI made several false and misleading statements, including: (i) the defendant

denied ever witnessing Coconspirator 1 consume narcotics; (ii) the defendant denied that

Coconspirator 1 ever called him while a staff member or customer was actively overdosing at
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the gentlemen’s club operated by Coconspirator 1; and (iii) the defendant denied ever

initiating contact with Coconspirator 1.



       57.    On or about June 6, 2019, in an interview conducted by members of federal

law enforcement, including SAs with DOJ OIG and Homeland Security Investigations, the

defendant BONGIOVANNI made several false and misleading statements, including: (i) the

defendant denied he was in a close relationship with Coconspirator 1; (ii) the defendant stated

that he had not spoken with Coconspirator 1 in over a year; (iii) the defendant stated that he

had never attended a party with Coconspirator 2, a person known to the Grand Jury; (iv) the

defendant stated that he knew Coconspirator 3, a person known to the Grand Jury, because

Coconspirator 3 was his landscaper; (v) the defendant stated that he never socialized with

Coconspirator 3, and they never went on any trips together; (vi) the defendant stated that

Coconspirator 3’s number was in the defendant’s telephone because Coconspirator 3 had

done landscaping for the defendant; (vii) the defendant stated that Coconspirator 1 once tried

to cooperate with the DEA and that the defendant recused himself at the time because he

knew Coconspirator 1 personally; (viii) the defendant stated that he did not remember if

Coconspirator 2 was at a party with the defendant and others in Toronto, Canada; (ix) the

defendant stated that Coconspirator 1 and the defendant were together, with others, a few

years ago at Lake Erie around the 4th of July by chance encounter; (x) the defendant stated

that he kept a DEA case file in his house because it was an old case and he thought it would

come up again and the defendant wanted to verify everything was on the up and up; (xi) the

defendant stated that he knew there was an ongoing investigation of IOC which is why the

defendant kept the file; (xii) the defendant stated that Peter Millitello was the source in DEA

Case Number C2-13-0026, but Millitello was arrested for selling fentanyl and heroin; and (xiii)



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the defendant stated that he learned about a current investigation when a DOJ OIG SA asked

him about the subject of the investigation during an interview earlier in the year.

       All in violation of Title 18, United States Code, Section 371.



                                          COUNT 2

                     (Conspiracy to Distribute Controlled Substances)

                           The Grand Jury Further Charges That:

       1.      The allegations of the Introduction and Count 1 are incorporated by reference

as though set forth fully herein.



       2.      Beginning in or about 2008, and continuing to in or about 2017, the exact dates

being unknown to the Grand Jury, in the Western District of New York, and elsewhere, the

defendant, JOSEPH BONGIOVANNI, did knowingly, willfully, and unlawfully combine,

conspire, and agree with others, known and unknown to the Grand Jury, to commit the

following offenses, that is, to possess with intent to distribute, and distribute, 1000 kilograms

or more of a mixture and substance containing marijuana, a Schedule I controlled substance,

and cocaine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Sections 841(a)(1), 841(b)(1)(A), and 841(b)(1)(C).

       All in violation of Title 21, United States Code, Section 846.



                                          COUNT 3

                             (Public Official Accepting a Bribe)

                           The Grand Jury Further Charges That:

       1.      The allegations of the Introduction and Count 1 are incorporated by reference

as though set forth fully herein.
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       2.       Beginning in or about 2008, and continuing to in or about 2017, the exact dates

being unknown to the Grand Jury, in the Western District of New York, the defendant,

JOSEPH BONGIOVANNI, a public official, directly and indirectly did corruptly demand,

seek, receive, accept, and agree to receive and accept something of value personally, in return

for being influenced in the performance of an official act and being induced to do an act and

omit to do an act in violation of his official duty; that is the defendant, JOSEPH

BONGIOVANNI, was paid at least $250,000 in United States currency to provide

information about federal investigations, law enforcement methods and techniques, and the

identity of individuals cooperating and potentially cooperating with law enforcement in order

to conceal the drug trafficking activities, and to help such drug trafficking activities continue,

of individuals associated with the defendant, including individuals the defendant believed to

be connected to and associated with IOC.

       All in violation of Title 18, United States Code, Sections 201(b)(2)(A) and

201(b)(2)(C).



                                           COUNT 4

                                    (Obstruction of Justice)

                           The Grand Jury Further Charges That:

       1.       The allegations of the Introduction and Count 1 are incorporated by reference

as though set forth fully herein.



       2.       Beginning on or before September 11, 2013, and continuing until on or about

January 28, 2015, in the Western District of New York, the defendant, JOSEPH

BONGIOVANNI, did knowingly falsify and make false entries in records and documents

with intent to impede, obstruct, and influence the investigation and proper administration of
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a matter within the jurisdiction of the Drug Enforcement Administration, an agency of the

United States, that is, the defendant, JOSEPH BONGIOVANNI made false and misleading

statements in DEA 6 reports he prepared relating to the status of a drug trafficking

investigation in DEA Case Number C2-13-0026 and the viability and credibility of the

confidential source who was providing information to the DEA regarding a drug trafficking

organization in order to close the DEA file and investigation into the organization and shield

members and associates of the organization from arrest and prosecution.

       All in violation of Title 18, United States Code, Section 1519.



                                          COUNT 5
                                    (Obstruction of Justice)

                           The Grand Jury Further Charges That:

       1.      The allegations of the Introduction and Count 1 are incorporated by reference

as though set forth fully herein.



       2.      On or about November 1, 2018, in the Western District of New York, the

defendant, JOSEPH BONGIOVANNI, did knowingly falsify and make false entries in a

record and document with intent to impede, obstruct, and influence the investigation and

proper administration of a matter within the jurisdiction of the Drug Enforcement

Administration, Homeland Security Investigations, the Department of Justice, Office of

Inspector General, and the Federal Bureau of Investigation, agencies of the United States,

that is, the defendant, JOSEPH BONGIOVANNI, in an investigation regarding the nature

of the relationship between the defendant and individuals involved in drug trafficking

activities, including Coconspirator 1, and the drug trafficking activities of such individuals,

made false and misleading statements in a memorandum relating to the nature of his


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relationship and extent of his communications with Coconspirator 1 in order to cover up,

mislead, create a false justification for, and misrepresent the true relationship between the

defendant and Coconspirator 1.

       All in violation of Title 18, United States Code, Section 1519.



                                          COUNT 6
                                    (Obstruction of Justice)

                           The Grand Jury Further Charges That:

       1.      The allegations of the Introduction and Count 1 are incorporated by reference

as though set forth fully herein.



       2.      On or about December 10, 2018, in the Western District of New York, the

defendant, JOSEPH BONGIOVANNI, did knowingly falsify and make false entries in a

record and document with intent to impede, obstruct, and influence the investigation and

proper administration of a matter within the jurisdiction of the Drug Enforcement

Administration, Homeland Security Investigations, the Department of Justice, Office of

Inspector General, and the Federal Bureau of Investigation, agencies of the United States,

that is, the defendant, JOSEPH BONGIOVANNI, in an investigation regarding the nature

of the relationship between the defendant and individuals involved in drug trafficking

activities, including Coconspirator 1, and the drug trafficking activities of such individuals,

made false and misleading statements in a memorandum relating to the nature of his

relationship and extent of his communications with Coconspirator 1 in order to cover up,

mislead, create a false justification for, and misrepresent the true relationship between the

defendant and Coconspirator 1.

       All in violation of Title 18, United States Code, Section 1519.

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                                          COUNT 7

                                    (Obstruction of Justice)

                           The Grand Jury Further Charges That:

       1.      The allegations of the Introduction and Count 1 are incorporated by reference

as though set forth fully herein.



       2.      On or about January 28, 2019, in the Western District of New York, the

defendant, JOSEPH BONGIOVANNI, did knowingly falsify and make false entries in a

record and document with intent to impede, obstruct, and influence the investigation and

proper administration of a matter within the jurisdiction of the Drug Enforcement

Administration, Homeland Security Investigations, the Department of Justice, Office of

Inspector General, and the Federal Bureau of Investigation, agencies of the United States,

that is, the defendant, JOSEPH BONGIOVANNI, in an investigation regarding the nature

of the relationship between the defendant and individuals involved in drug trafficking

activities, including Coconspirator 1, and the drug trafficking activities of such individuals,

made false and misleading statements in a memorandum relating to the nature of his

relationship and extent of his communications with Coconspirator 1 in order to cover up,

mislead, create a false justification for, and misrepresent the true relationship between the

defendant and Coconspirator 1 and to misrepresent the true nature of the relationship between

Coconspirator 1 and a DEA Special Agent known to the Grand Jury.

       All in violation of Title 18, United States Code, Section 1519.




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                                           COUNT 8

                                    (Obstruction of Justice)

                           The Grand Jury Further Charges That:

       1.      The allegations of the Introduction and Count 1 are incorporated by reference

as though set forth fully herein.



       2.      Beginning on a date unknown but no later than February 1, 2019, to on or

about February 8, 2019, in the Western District of New York, the defendant, JOSEPH

BONGIOVANNI, did knowingly alter, destroy, mutilate and conceal a record and tangible

object with intent to impede, obstruct, and influence the investigation and proper

administration of a matter within the jurisdiction of the Drug Enforcement Administration,

Homeland Security Investigations, the Department of Justice, Office of Inspector General,

and the Federal Bureau of Investigation, agencies of the United States, that is, the defendant,

JOSEPH BONGIOVANNI, in an investigation regarding the nature of the relationship

between the defendant and individuals involved in drug trafficking activities, and the drug

trafficking activities of such individuals, did cause the contents of, and data on, his DEA-

issued cellular telephone to be deleted.

       All in violation of Title 18, United States Code, Section 1519.



                                           COUNT 9

                                    (Obstruction of Justice)

                           The Grand Jury Further Charges That:

       1.      The allegations of the Introduction and Count 1 are incorporated by reference

as though set forth fully herein.


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       2.     Beginning on a date unknown, but no later than February 1, 2019, and

continuing to on or about June 6, 2019, in the Western District of New York, the defendant

JOSEPH BONGIOVANNI, did knowingly conceal and cover up records, documents, and

tangible objects, with intent to impede, obstruct, and influence the investigation and proper

administration of a matter within the jurisdiction of the Drug Enforcement Administration,

Homeland Security Investigations, the Department of Justice, Office of Inspector General,

and the Federal Bureau of Investigation, agencies of the United States, that is, the defendant,

JOSEPH BONGIOVANNI, in an investigation regarding the nature of the relationship

between the defendant and individuals involved in drug trafficking activities, and the drug

trafficking activities of such individuals, did unlawfully take, remove, conceal, and store the

working file in DEA Case Number C2-13-0026 in his residence.

       All in violation of Title 18, United States Code, Section 1519.



                                         COUNT 10

                   (False Statements to an Agency of the United States)

                          The Grand Jury Further Charges That:

       On or about March 29, 2019, in the Western District of New York, the defendant,

JOSEPH BONGIOVANNI, in a matter within the jurisdiction of the executive branch of the

United States, did willfully and knowingly make materially false, fictitious, and fraudulent

statements and representations to special agents of the Department of Justice, Office of the

Inspector General, in that the defendant denied ever witnessing Coconspirator 1, a person

known to the Grand Jury, consume narcotics; the defendant denied that Coconspirator 1 ever

called him while a staff member or customer was actively overdosing at the gentlemen’s club

operated by Coconspirator 1; and the defendant denied ever initiating contact with

Coconspirator 1, whereas in truth and in fact, and as the defendant then and there well knew,
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the defendant had witnessed Coconspirator 1 consume narcotics; Coconspirator 1 did call the

defendant while a staff member was overdosing; and the defendant did previously initiate

contact with Coconspirator 1.

       All in violation of Title 18, United States Code, Section 1001(a)(2).



                                        COUNT 11

                   (False Statements to an Agency of the United States)

                          The Grand Jury Further Charges That:

       On or about June 6, 2019, in the Western District of New York, the defendant,

JOSEPH BONGIOVANNI, in a matter within the jurisdiction of the executive branch of the

United States, did willfully and knowingly make materially false, fictitious, and fraudulent

statements and representations to special agents of the Department of Justice, Office of the

Inspector General, and Homeland Security Investigations in that the defendant stated as

follows:

       (i) he denied he was in a close relationship with Coconspirator 1, a person known to

the Grand Jury;

       (ii) that he had not spoken with Coconspirator 1 in over a year;

       (iii) that he had never attended a party with Coconspirator 2, a person known to the

Grand Jury;

       (iv) that he never socialized with Coconspirator 3, a person known to the Grand Jury,

and they never went on any trips together;

       (v) that Coconspirator 3’s number was in the defendant’s telephone because

Coconspirator 3 had done the defendant’s landscaping;

       (vi) that Coconspirator 1 once tried to cooperate with the DEA and that the defendant

recused himself at the time because he knew Coconspirator 1 personally;
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       (vii) that Coconspirator 1 and the defendant were together, with others, a few years

ago at Lake Erie around the 4th of July by chance encounter;

       (viii) that he kept the file regarding DEA Case Number C2-13-0026 in his house

because it was an old case and he thought it would come up again and the defendant wanted

to verify everything was on the up and up; and

       (ix) that Peter Millitello was the source in DEA Case Number C2-13-0026;

whereas in truth and in fact, and as the defendant then and there well knew,

       (i) he did have a close relationship with Coconspirator 1;

       (ii) he had spoken with Coconspirator 1 within the preceding year;

       (iii) he did attend a party with Coconspirator 2;

       (iv) he did socialize with Coconspirator 3 and they were on a trip to Toronto, Canada

       together; (v) Coconspirator 3’s number was in his telephone for reasons other than

       landscaping;

       (vi) Coconspirator 1 did not try to cooperate with DEA and the defendant did not

recuse himself;

       (vii) Coconspirator 1 and the defendant were not together at Lake Erie around the 4th

of July a few years ago by chance encounter;

       (viii) he did not keep the file regarding DEA Case Number C2-13-0026 in his house to

verify everything was on the up and up; and

       (ix) Peter Millitello was not the source in DEA Case Number C2-13-0026.

       All in violation of Title 18, United States Code, Section 1001(a)(2).




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                                FORFEITURE ALLEGATION

                                      (Proceeds Forfeiture)

                                  The Grand Jury Alleges That:

       Upon conviction of any or all of the offenses set forth in Counts 1 through 3 of this

Indictment, the defendant, JOSEPH BONGIOVANNI, shall forfeit to the United States,

pursuant to Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United States

Code, Section 2461(c), any property, real or personal, which constitutes or is derived from

proceeds traceable to the offense. The property to be forfeited includes, but is not limited to,

the following:


A. MONETARY SUM

       The sum of two hundred and fifty thousand dollars ($250,000), which sum is equal to

or less than the total amount of proceeds that JOSEPH BONGIOVANNI obtained as a result

of the offenses for which he is charged in Counts 1 through 3. In the event that the above sum

is not available, then a money judgment for the same amount will be entered against the

defendant.



       If any of the property described above, as a result of any act or omission of the

defendant;


       1.        cannot be located upon the exercise of due diligence;

       2.        has been transferred or sold to, or deposited with, a third person;

       3.        has been placed beyond the jurisdiction of the Court;

       4.        has been substantially diminished in value; or

       5.        has been commingled with other property which cannot be divided without
                 difficulty;



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       The United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title 18, United

States Code, Section 982(b)(1).

       All pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title 21, United

States Code, Section 853(p), and Title 28, United States Code, Section 2461(c).



       DATED: Buffalo, New York, October 31, 2019.



                                          JAMES P. KENNEDY, JR.
                                          United States Attorney


                                   BY:    S/JOSEPH M. TRIPI
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A TRUE BILL:


S/FOREPERSON




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